OPINION — AG — (1) THE OKLAHOMA TURNPIKE AUTHORITY IS AUTHORIZED TO CONSTRUCT TURNPIKES ONLY AT LOCATIONS NOW SPECIFIED IN 69 O.S. 1961 655 [69-655](E) AND AT ANY OTHER LOCATIONS AS MAY HEREAFTER BE SPECIFICALLY AUTHORIZED BY THE LEGISLATURE. AS TO THE TURNPIKE AUTHORIZED BY 69 O.S. 1961 655 [69-655](E)(4), THE AUTHORITY IS AUTHORIZED BY LAW TO CONSTRUCT ONLY A SINGLE TURNPIKE PROJECT WITHIN THE AREA THEREIN DESCRIBED, OR PARTS THEREOF. SUCH TURNPIKE MUST INCLUDE THE PRESENTLY DESIGNATED SECTION "A" BETWEEN HENRYETTA AND MCALESTER, THE ROUTE OF WHICH HAS BEEN IRREVOCABLY FIXED; AND MUST INCLUDE PRESENTLY DESIGNATED SECTION "B" BETWEEN MCALESTER AND HUGO, UNLESS SUCH ROUTE IS REVOKED OR AMENDED BY THE LEGISLATURE PRIOR TO SALE OF BONDS TO FINANCE CONSTRUCTION THEREOF. (2) THE TURNPIKE AUTHORITY IS EMPOWERED TO CONTRACT WITH THE STATE HIGHWAY DEPARTMENT, (SUBJECT TO A LIMITATION OF $1,500.00 PER TURNPIKE MILE) OR WITH OTHERS, FOR TRAFFIC AND ENGINEERING SURVEYS UPON TURNPIKES AT PROPOSED LOCATIONS OTHER THAN NOW SPECIFIED IN 69 O.S. 1961 655 [69-655]. THE AUTHORITY IS AUTHORIZED TO PAY FOR SUCH SURVEYS OUT OF PROCEEDS OF ANY BONDS THAT MAY THEREAFTER BE ISSUED TO FINANCE CONSTRUCTION THEREOF, OR FROM ANY REVENUES ACCRUING TO THE AUTHORITY, WHICH UNDER TERMS OF THE TURNPIKE ACT AND THE RESPECTIVE TRUST INDENTURES, MAY LAWFULLY BE DEVOTED TO SUCH PURPOSES. NO OPINION IS EXPRESSED AS TO THE LEGALITY OF ANY PARTICULAR CONTRACT, OR THE USE OF ANY PARTICULAR FUNDS, FOR THE PURPOSE; OR WHETHER THE HIGHWAY DEPARTMENT COULD LAWFULLY MAKE SUCH A CONTRACT FOR USE OF ITS FUNDS FOR SUCH SURVEY. CITE: 69 O.S. 1961 659 [69-659], 69 O.S. 1961 680 [69-680] [69-680], 69 O.S. 1961 683 [69-683], 69 O.S. 1961 672 [69-672]  69 O.S. 1961 655 [69-655](K) (CHARLES NESBITT)